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avvacr2aae CAS 2 O° ChB LeIeCH Document Sas-t_. hed. 4/09/06

Customer Chip Harrep Aincrait #

Ni61K

Work Approval Form

Work Order #

Estimated Cost

Parts | Labor

Prionity

Work Approved

Yes {| No

Autopilot inop

Cabin Pressure leak at 14,000 €10,(k¥0 i. cabin}

Co pilot attitude indicator inop

Hobbs meter inop

Weather radar tnop

Power levers split, 2”

Right hand wing fuel gage inop

Right hand aav light fence missing

Both taxi lights inop

Audio master ticking with engines off

Chin light behind pilot will not turn off

Nar 2, (tied to HSI eopiiet} only works on half the frequeacies

Copilot mic switch inop

Supercharger needs servicing

Cabin door stair cable broken

Cutter Form 203 (02/01/04)

Computer Generated

Please note that tax, freighi, and consumables have not been included in this estimate. Consumables are based on 5%

of the total labor, not to exceed $500.00, Over and above charges may apply on cores after evaluation by the vendor.

